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 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                 WACO DIVISION


                In re:                              §
                                                    §
                NORTH TEXAS MARINA INVESTMENTS, LLC §                                                       Case No. 20-60321 RBK
                                                    §
                                    Debtor          §

                                                             TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
                 05/04/2020 . The case was converted to one under Chapter 7 on 03/22/2021 . The
                undersigned trustee was appointed on 03/22/2021 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $             294,146.01

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                        96,608.65
                                                  Bank service fees                                                               1,892.59
                                                  Other payments to creditors                                                    22,470.68
                                                  Non-estate funds paid to 3rd Parties                                                0.00
                                                  Exemptions paid to the debtor                                                       0.00
                                                  Other payments to the debtor                                                        0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $             173,174.09

          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 09/07/2021 and the
      deadline for filing governmental claims was 09/07/2021 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 17,957.30 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 17,957.30 , for a total compensation of $ 17,957.30 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 3,237.66 , for total expenses of $ 3,237.66 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 06/14/2022                                     By:/s/James E. Studensky, Trustee
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                            FORM 1
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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                        Page:       1
                                                                                     ASSET CASES                                                                                             Exhibit A
Case No:            20-60321      RBK    Judge: Ronald B. King                                                         Trustee Name:                     James E. Studensky, Trustee
Case Name:          NORTH TEXAS MARINA INVESTMENTS, LLC                                                               Date Filed (f) or Converted (c):   03/22/21 (c)
                                                                                                                      341(a) Meeting Date:               04/22/21
For Period Ending: 06/14/22                                                                                           Claims Bar Date:                   09/07/21



                                     1                                2                          3                         4                         5                                  6
                                                                                        Estimated Net Value
                                                                  Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)         Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. BANK ACCOUNT                                                            0.00                        105.00                                             105.00                      FA
     WELLS FARGO CHECKING NO. 3700
 2. BANK ACCOUNT                                                     27,826.46                       57,347.24                                           57,526.78                     FA
     WELLS FARGO BANK ACCOUNT-NUMBER
     4708-CHECKING($27,826.46 BALANCE ON 03/26/21)
 3. CASH ON HAND                                                          371.00                           0.00                                               0.00                     FA
 4. OTHER CASH EQUIVALENTS                                                  0.00                           0.00                                               0.00                     FA
     PAYPAL
 5. ACCOUNTS RECEIVABLE                                             100,824.60                        1,250.00                                            1,250.00                     FA
     ACCOUNTS RECEIVABLE-90 DAYS OR LESS-TRUSTEE HAS
     INVESTIGATED THIS ASSET AND DEBTOR'S FORMER
     OFFICERS REPORT THAT THIS ASSET VALUE IS INCORRECT
     AND THAT THERE ARE NO CURRENT ACCOUNTS
     RECEIVABLE
 6. INVENTORY                                                         2,500.00                          500.00                                             250.00                      FA
     BAIT SHACK INVENTORY: TACKLE, MINNOW BUCKETS AND
     FISHING ACCESSORIES
 7. INVENTORY                                                             550.00                           0.00                                               0.00                     FA
     LIVE BAIT INVENTORY: 18 LBS OF MINNOWS AND 6 LBS OF
     PERCH
 8. INVENTORY                                                             250.00                           0.00                                               0.00                     FA
     OTHER BAIT INVENTORY: SHAD, WORMS, SHRIMP AND LIVER
 9. INVENTORY                                                       716,316.37                       50,000.00                                           50,000.00                     FA
     VARIOUS NEW BOAT AND WATERCRAFT PARTS(INVENTORY
     LIST BY PART NUMBER AVAILABLE)-THE SCHEDULES SHOW
     THE RETAIL VALUE OF THE PARTS-LIQUIDATION VALUE IS
     MUCH LESS



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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                        Page:       2
                                                                                     ASSET CASES                                                                                             Exhibit A
Case No:            20-60321      RBK    Judge: Ronald B. King                                                         Trustee Name:                     James E. Studensky, Trustee
Case Name:          NORTH TEXAS MARINA INVESTMENTS, LLC                                                               Date Filed (f) or Converted (c):   03/22/21 (c)
                                                                                                                      341(a) Meeting Date:               04/22/21
                                                                                                                      Claims Bar Date:                   09/07/21



                                     1                                2                          3                         4                         5                                  6
                                                                                        Estimated Net Value
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 10. OFFICE FURNTURE, FIXTURES EQUIPMENT                              5,100.00                        2,500.00                                           2,500.00                      FA
     KITCHEN EQUIPMENT(3000), WALK-IN
     COOLER/FREEZER(1,500) AND 2 REACH-IN COOLERS(600)
 11. OFFICE FURNITURE FIXTURES AND EQUIP                              3,000.00                        1,000.00                                           1,000.00                      FA
     APPROX. 53 BEDS(3000)
 12. OFFICE FURNITURE FIXTURES AND EQUIP                              1,450.00                          290.00                                             250.00                      FA
     APPROX. 29 ELECTRIC FIREPLACES(1450)
 13. OFFICE FURNITURE FIXTURES AND EQUIP                                  440.00                         50.00                                                50.00                    FA
     FOUR OFFICE DESKS($50.00 EACH), SIX OFFICE CHAIRS($20.00
     EACH) AND SIX 4-DRAWER CABINETS($20 EACH)
 14. OFFICE FURNITURE FIXTURES AND EQUIP                              1,600.00                          800.00                                             800.00                      FA
     APPROX. 32 PICNIC TABLES
 15. OFFICE FURNITURE FIXTURES AND EQUIP                              1,200.00                          200.00                                             200.00                      FA
     TABLES AND CHAIRS PER CABIN UNITS
 16. OFFICE FURNITURE FIXTURES AND EQUIP                                  500.00                         50.00                                                50.00                    FA
     SOFAS, FUTONS, AND LOVESEATS
 17. OFFICE FURNITURE FIXTURES AND EQUIP                              1,000.00                          600.00                                             600.00                      FA
     APPROX. 29 STOVES
 18. OFFICE FURNITURE FIXTURES AND EQUIP                                  725.00                        500.00                                             500.00                      FA
     APPROX 29 MINI-REFRIGERATORS
 19. OFFICE EQUIPMENT                                                     750.00                         50.00                                                50.00                    FA
     APPROX. 150 LIFE VESTS
 20. OFFICE EQUIPMENT                                                 2,000.00                          500.00                                             500.00                      FA
     VARIOUS TOOLS AND EQUIPMENT
 21. OFFICE EQUIPMENT                                                     440.00                        100.00                                             100.00                      FA
     3 HP ALL-IN-ONE DESKTOP COMPUTERS($100.00 EACH); ONE




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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                        Page:       3
                                                                                     ASSET CASES                                                                                             Exhibit A
Case No:            20-60321      RBK    Judge: Ronald B. King                                                         Trustee Name:                     James E. Studensky, Trustee
Case Name:          NORTH TEXAS MARINA INVESTMENTS, LLC                                                               Date Filed (f) or Converted (c):   03/22/21 (c)
                                                                                                                      341(a) Meeting Date:               04/22/21
                                                                                                                      Claims Bar Date:                   09/07/21



                                     1                                2                          3                         4                         5                                  6
                                                                                        Estimated Net Value
                                                                  Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)         Values                and Other Costs)          OA=554(a) Abandon             the Estate

     DELL ISPIRION DESKTOP COMPUTER W/MONITOR-$50.00; ONE
     HP OFFICE JET PRO 8740 PRINTER $25.00; ONE CANON COLOR
     IMAGECLASS MF733CDW PRINTER-$25.00; AND TWO
     BROTHERS PRINTERS-$20.00 EACH
 22. OFFICE EQUIPMENT                                                     800.00                        400.00                                             400.00                      FA
     TWO SPEED QUEEN COMMERICAL WASHING
     MACHINES-$200.00 EACH AND TWO SPEED QUEEN
     COMMERICIAL DRYERS-$200.00 EACH
 23. OFFICE EQUIPMENT                                                     100.00                           0.00                                                0.00                    FA
     TELEPHONES AND OFFICE SOFTWARE
 24. OFFICE EQUIPMENT                                                 1,500.00                          500.00                                             500.00                      FA
     APPROX. TWENTY-EIGHT 32" TVS AND ONE 50" TV
 25. OFFICE EQUIPMENT                                                     100.00                           0.00                                                0.00                    FA
     WIFI ROUTERS AND EQUIPMENT
 26. OFFICE EQUIPMENT                                                      50.00                           0.00                                                0.00                    FA
     29 SATELLITE CHANNEL BOXE
 27. COLLECTIBLES OF VALUE                                                200.00                         25.00                                                25.00                    FA
     VARIOUS ART AND DISPLAY COLLECTIBLES
 28. MACHINERY EQUIPMENT VEHICLES                                    12,000.00                        4,500.00                                           4,500.00                      FA
     CAMPER
 29. MACHINERY EQUIPMENT VEHICLES                                     4,000.00                             0.00                                                0.00                    FA
     VAN-DEBTOR REPORTS THAT VAN WAS IN POOR CONDITION
     AND WAS SOLD DURING THE CHAPTER 11
 30. MACHINERY EQUIPMENT VEHICLES                                    15,000.00                        8,500.00                                           8,500.00                      FA
     CASE TRACTOR
 31. MACHINERY EQUIPMENT VEHICLES                                     4,000.00                        1,500.00                                           1,500.00                      FA




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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page:       4
                                                                                   ASSET CASES                                                                                             Exhibit A
Case No:            20-60321      RBK    Judge: Ronald B. King                                                       Trustee Name:                     James E. Studensky, Trustee
Case Name:          NORTH TEXAS MARINA INVESTMENTS, LLC                                                             Date Filed (f) or Converted (c):   03/22/21 (c)
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                                                                                                                    Claims Bar Date:                   09/07/21



                                     1                                2                        3                         4                         5                                  6
                                                                                      Estimated Net Value
                                                                  Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                  Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     WORK TRUCK
 32. MACHINERY EQUIPMENT VEHICLES                                    35,000.00                           0.00                                               0.00                     FA
     JOHN DEERE BACKHOE(TAKEN BY LISTON WADDLE AFTER
     FILING OF CHAPTER 11 CASE)-CLAIM FOR RETURN OF
     BACKHOE HAS BEEN INVESTIGATED BY TRUSTEE-LISTON
     WADDLE HOLDS A SECURITY INTEREST IN THE BACKHOE
     AND REPOSSESSED THE BACKHOE AND SOLD IT FOR
     $20,000.00 BUT HE CLAIMS THAT THE REPOSSESSION
     OCCURRED PRIOR TO THE BANKRUPTCY CASE
     FILING-TRUSTEE BELIEVES THAT CLAIM HOLDS MINIMAL IF
     ANY VALUE FOR THE ESTATE
 33. MACHINERY EQUIPMENT VEHICLES                                    18,000.00                     10,000.00                                           14,000.00                     FA
     HONEY WAGON SEPTIC VACUMN TRUCK(LARGE)
 34. MACHINERY EQUIPMENT VEHICLES                                     5,500.00                      2,500.00                                            2,500.00                     FA
     HONEY WAGON SEPTIC VACUMN TRUCK(SMALL)
 35. WATERCRAFT TRAILERS MOTORS, ACCES                                8,000.00                      2,500.00                                            2,500.00                     FA
     WORK BARGE
 36. WATERCRAFT TRAILERS MOTORS, ACCES                                4,000.00                      2,000.00                                            2,000.00                     FA
     YELLOW JET SKI
 37. WATERCRAFT TRAILERS MOTORS, ACCES                                7,000.00                      3,000.00                                            3,000.00                     FA
     BLUE JET SKI
 38. WATERCRAFT TRAILERS MOTORS, ACCES                                7,500.00                      3,500.00                                            3,500.00                     FA
     BLACK & GOLD JET SKI
 39. WATERCRAFT TRAILERS MOTORS, ACCES                                7,500.00                      3,500.00                                            3,500.00                     FA
     BLACK & GOLD JET SKI
 40. WATERCRAFT TRAILERS MOTORS, ACCES                                1,000.00                        500.00                                             525.00                      FA
     JOHN DEERE MULE



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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page:       5
                                                                                   ASSET CASES                                                                                             Exhibit A
Case No:            20-60321      RBK    Judge: Ronald B. King                                                       Trustee Name:                     James E. Studensky, Trustee
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                                                                                      Estimated Net Value
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 41. WATERCRAFT TRAILERS MOTORS, ACCES                                3,500.00                      1,800.00                                           1,800.00                      FA
     LAWN MOWER(ZERO TURN)
 42. WATERCRAFT TRAILERS MOTORS, ACCES                                7,000.00                      2,500.00                                           2,500.00                      FA
     GRAVE LAWNMOWER (LARGE ZERO TURN)
 43. WATERCRAFT TRAILERS MOTORS, ACCES                                2,500.00                      1,500.00                                           1,500.00                      FA
     EASYGO GOLF CART W/O CARGO BIN
 44. WATERCRAFT TRAILERS MOTORS, ACCES                                3,000.00                      1,500.00                                           1,500.00                      FA
     EASY GO GOLF CART WITH CARGO BIN
 45. WATERCRAFT TRAILERS MOTORS, ACCES                                6,000.00                      3,000.00                                           3,000.00                      FA
     GOLF CART MULTI PASSENGER
 46. WATERCRAFT TRAILERS MOTORS, ACCES                                9,000.00                      4,500.00                                           4,500.00                      FA
     POLARIS RANGER
 47. WATERCRAFT TRAILERS MOTORS, ACCES                                4,000.00                      2,500.00                                           2,500.00                      FA
     FORKLIFT
 48. WATERCRAFT TRAILERS MOTORS, ACCES                                5,000.00                      3,000.00                                           3,000.00                      FA
     SKYTRAK LIFT VEHICLE
 49. WATERCRAFT TRAILERS MOTORS, ACCES                                7,000.00                      3,000.00                                           3,000.00                      FA
     BEACHCOMBER PONTOON
 50. WATERCRAFT TRAILERS MOTORS, ACCES                                1,500.00                        500.00                                             500.00                      FA
     VIP SKI BOAT
 51. WATERCRAFT TRAILERS MOTORS, ACCES                               30,000.00                           0.00                                               0.00                     FA
     BRYANT SKI BOAT(TAKEN BY CREDITOR SHORTLY AFTER
     CHAPTER 11 CASE FILED)-THIS BOAT WAS REPOSSESSED BY
     CREDITOR DURING THE CHAPTER 11 ACCORDING TO
     DEBTOR-ESTATE HOLDS CLAIM FOR RETURN-BOAT HAS
     UNKNOWN VALUE BUT IS SUBJECT TO LIEN OF APPROX.




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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                        Page:       6
                                                                                     ASSET CASES                                                                                             Exhibit A
Case No:            20-60321      RBK    Judge: Ronald B. King                                                         Trustee Name:                     James E. Studensky, Trustee
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                                     1                                2                          3                         4                         5                                  6
                                                                                        Estimated Net Value
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                              Asset Description                  Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     18,000.00-TRUSTEE BELIEVES THAT CLAIM HAS NO VALUE TO
     THE ESTATE AS THE VALUE OF BOAT IS LIKELY LESS THAN
     DEBTOR'S VALUE
 52. WATERCRAFT TRAILERS MOTORS, ACCES                                 7,500.00                       3,000.00                                            3,000.00                     FA
     MONTEREY SKI BOAT
 53. WATERCRAFT TRAILERS MOTORS, ACCES                                 7,500.00                       1,500.00                                            1,500.00                     FA
     LARSON SKI BOAT-LOWER UNIT FOR ENGINE IS MISSING
 54. WATERCRAFT TRAILERS MOTORS, ACCES                                 7,500.00                       4,000.00                                            4,000.00                     FA
     EBBTIDE SKI BOAT
 55. WATERCRAFT TRAILERS MOTORS, ACCES                               12,000.00                        5,500.00                                            5,500.00                     FA
     HURRICANE DECK BOAT (SMALL)
 56. WATERCRAFT TRAILERS MOTORS, ACCES                               17,000.00                        8,000.00                                            8,500.00                     FA
     HURRICANE DECK BOAT (LARGE)
 57. WATERCRAFT TRAILERS MOTORS, ACCES                               14,000.00                        8,500.00                                            9,000.00                     FA
     SWEETWATER PONTOON (LARGE)
 58. WATERCRAFT TRAILERS MOTORS, ACCES                               11,500.00                        5,500.00                                            7,000.00                     FA
     SWEETWATER PONTOON (SMALL)
 59. WATERCRAFT TRAILERS MOTORS, ACCES                               28,000.00                       12,000.00                                           15,000.00                     FA
     VERANDA PONTOON
 60. WATERCRAFT TRAILERS MOTORS, ACCES                                 6,000.00                       2,500.00                                            3,500.00                     FA
     SKEETER BASS BOAT
 61. WATERCRAFT TRAILERS MOTORS, ACCES                                    300.00                        150.00                                             150.00                      FA
     16' UTILITY TRAILER
 62. WATERCRAFT TRAILERS MOTORS, ACCES                                 2,500.00                         250.00                                             250.00                      FA
     CANOES, KAYAKS AND PADDLE BOARDS
 63. REAL PROPERTY                                                 4,580,000.00                            0.00                                          35,000.00                     FA



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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                       Page:       7
                                                                                    ASSET CASES                                                                                             Exhibit A
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                                     1                                2                         3                         4                         5                                  6
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     112 COUNTY ROAD 1710, CLIFTON, TEXAS 76634-3921-FEE
     SIMPLE-TRUSTEE HAS MARKETING REAL PROPERTY TO
     PROSPECTIVE THIRD PARTIES SINCE CONVERSION TO
     CHAPTER 7 AND HAS RECEIVED NO OFFERS TO PURCHASE
     THAT WOULD PAY ALL LIENS-TRUSTEE BELIEVES THAT THE
     REAL PROPERTY HOLDS NO OWNER EQUITY BECAUSE
     THERE IS NO MARINA LEASE IN EFFECT WITH THE ARMY
     CORPS OF ENGINEERS AND THE PROPERTY DOES NOT
     OTHERWISE INCLUDE A MARINA
 64. PATENTS COPYRIGHTS TRADEMARKS                                     1,500.00                           0.00                                               0.00                     FA
     INTERNET DOMAIN NAMES AND WEBSITES:
     HTTPS://WWW.UNCLEGUSMARINA.COM
 65. LICENSES, FRANCHISES & OTHER INTANG                               1,000.00                           0.00                                               0.00                     FA
     CUSTOMER MAILING LIST
 66. OTHER INTANGIBLES OR INTELLECTUAL                                Unknown                             0.00                                               0.00                     FA
     GOODWILL
 67. INTEREST IN INSURANCE POLICIES                                   Unknown                             0.00                                               0.00                     FA
     ARGONAUT INSURANCE COMPANY-GENERAL LIABILITY
     ARGONAUT INSURANCE COMPANY-PIERS AND WHARVES
 68. OTHER PERSONAL PROPERTY                                           1,000.00                           0.00                                               0.00                     FA
     BILLBOARD
 69. OTHER PERSONAL PROPERTY (u)                                   2,000,000.00                           0.00                                               0.00                     FA
     INSURANCE CLAIM FOR WINDSTORM DAMAGE-NATIONWIDE
     INSURANCE-DAMAGE TO DOCKS WHICH WILL HAVE TO BE
     REPAIRED FIRST BEFORE INSURANCE WILL PAY CLAIM
 70. OTHER PERSONAL PROPERTY (u)                                           0.00                     15,000.00                                           15,000.00                     FA
     MARINA DOCKS IN WATER UNDER CONTROL OF ARMY




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                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                                                 Page:        8
                                                                                                            ASSET CASES                                                                                                  Exhibit A
Case No:             20-60321       RBK     Judge: Ronald B. King                                                                               Trustee Name:                       James E. Studensky, Trustee
Case Name:           NORTH TEXAS MARINA INVESTMENTS, LLC                                                                                       Date Filed (f) or Converted (c):     03/22/21 (c)
                                                                                                                                               341(a) Meeting Date:                 04/22/21
                                                                                                                                               Claims Bar Date:                     09/07/21



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

     CORPS OF ENGINEERS-SOME WINDSTORM DAMAGE STILL
     EXISTS THAT NEEDS REPAIRS
 71. ACCOUNTS RECEIVABLE (u)                                                                     0.00                          12,000.00                                                 0.00                     FA
     ACCOUNTS RECEIVABLE-OLDER THAN 90 DAYS-DEBTOR IS
     OWED FOR DRY STORAGE FEES FOR SEVERAL CUSTOMERS
     WHO STILL HAVE BOATS LOCATED AT THE COMPANY'S
     PREMISES-TRUSTEE HAS MADE DEMAND FOR PAYMENT TO
     COLLECT THESE ACCOUNTS-SOLD TO THIRD PARTY
 72. REFUNDS (u)                                                                                 0.00                            264.23                                               264.23                      FA
     ROWLEY INSURANCE REFUND

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $7,773,893.43                         $260,731.47                                          $294,146.01                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   PREPARATION OF TRUSTEE'S FINAL REPORT AND ASSOCIATED DOCUMENTS-05/09/22
   REVIEW, SIGN AND FILE ESTATE FEDERAL INCOME TAX RETURN-NO TAX LIABILITY-04/10/22
   PREPARATION OF MOTION FOR AUTHORIZATION TO PAY ACCOUNTANT FOR TAX RETURN PREPARATION FILED-03/03/22
   NOTICE OF WITHDRAWAL OF MOTIONS TO CLARIFY CLAIMS NOS. 15, 16, 17, 18, 19, 20, 21, AND 22 PREPARED AND FILED-02/08/22
   DRAFT MOTIONS TO CLARIFY CLAIMS NOS. 15, 16, 17, 18, 19, 20, 21 AND 22 AS FULLY SECURED FILED-12/28/21
   DRAFT MOTIONS TO CLARIFY CLAIMS NOS. 4, 5 AND 6 AS FULLY SECURED AND FILE-12/14/21
   REVIEW OF CLAIMS AND DRAFT/FILE MOTION TO CLARIFY CLAIM NO. 1 OF BOSQUE COUNTY AS FULLY SECURED-12/09/21
   PREPARATION OF REPORT OF SALE OF REAL PROPERTY BY COUNSEL, REVIEWED BY TRUSTEE AND FILED-10/07/21
   APPLICATION TO EMPLOY ACCOUNTANT PREPARED BY COUNSEL ,REVIEWED BY TRUSTEE AND FILED-10/06/21




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                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                       Page:       9
                                                                                                        ASSET CASES                                                                           Exhibit A
Case No:            20-60321       RBK     Judge: Ronald B. King                                                            Trustee Name:                      James E. Studensky, Trustee
Case Name:          NORTH TEXAS MARINA INVESTMENTS, LLC                                                                     Date Filed (f) or Converted (c):   03/22/21 (c)
                                                                                                                            341(a) Meeting Date:               04/22/21
                                                                                                   Claims Bar Date:                                            09/07/21
   MOTION FOR COMPROMISE RELATED TO SECURED PARTIES AND SALE OF REAL PROPERTY EQUITY PREPARED BY COUNSEL, REVIEWED BY
   TRUSTEE AND FILED-09/09/21
   SALE OF ALL PERSONAL PROPERTY COMPLETED AND REPORT OF SALE OF PRIVATE SALE OF PERSONAL PROPERTY PREPARED AND
   FILED-08/11/21
   MOTION TO SELL ALL PERSONAL PROPERTY AT PRIVATE SALE APPROVED BY COURT ON EXPEDITED BASIS-08/04/21
   PREPARATION BY COUNSEL OF MOTION TO SELL PERSONAL PROPERTY TO SYNDI HILLSBERRY AT PRIVATE SALE ON EXPEDITED BASIS
   REVIEWED BY TRUSTEE-07/27/21
   CONFERENCES WITH SYNDI HILLSBERRY AND WHEELHOUSE VENTURES REGARDING PURCHASE OF ALL PERSONAL PROPERTY-07/20/21 TO
   07/27/21
   SITE VISIT TO DISCUSS UPCOMING AUCTION ISSUES WITH AUCTIONEER AND CONFERENCE WITH LANCE DEAL-07/20/21
   DEMAND LETTERS MAILED TO COLLECT DEBTS OWED FOR BOAT STORAGE FEES-07/14/21
   REQUEST FOR NOTICE AS ASSET CASE-06/28/21
   MOTION TO SELL PERSONAL PROPERTY AT AUCTION PREPARED BY COUNSEL AND REVIEWED-06/11/21
   PREPARATION OF APPLICATION TO EMPLOY BILL HALL AS AUCTIONEER REVIEWED AND FILED-06/10/21
   SITE VISIT WITH AUCTIONEER AND LOCKSMITH-06/09/21
   SITE VISIT TO LAKE WHITNEY TO INSPECT PROPERTY OF THE ESTATE AND THIRD PARTY BOATS-06/02/21
   CONFERENCES WITH PROSPECTIVE PURCHASERS AND CUSTOMERS REGARDING CLAIMS-04/20/21 THROUGH 06/02/21
   REVIEW/REVISE MOTION FOR AUTHORITY TO PAY BILLS TO PRESERVE ASSETS-05/24/21
   DISCUSSIONS WITH OPPOSING COUNSEL TO RESOLVE ISSUES ON MOTION TO LIFT STAY AND REVIEW PROPOSED AGREED ORDER-05/24/21
   MEETING OF CREDITORS CONCLUDED-05/20/22
   SITE VISIT TO INSPECT BOATS AND CONFERENCE WITH AUCTIONEER RE AUCTION PREPARATION-05/13/21
   SITE VISIT TO LAKE WHITNEY TO INSPECT BOATS AND OTHER PROPERTY AND ALLOW PROSPECTIVE PURCHASER TO
   INSPECT PROPERTY-05/03/21
   341 HEARING CONDUCTED WITH EXAMINATION OF CONVERSION SCHEDULES AND HEARING CONTINUED-04/22/21
   CONFERENCES WITH CUSTOMERS RE REFUNDS AND WITH PROSPECTS TO PURCHASE PROPERTY-04/20/21
   SITE VISIT TO DEBTOR'S MARINA AND CONFERENCE WITH LANCE DEAL RE STATUS OF OPERATIONS/PROPERTY-04/19/21


   Initial Projected Date of Final Report (TFR): 12/01/22          Current Projected Date of Final Report (TFR): 08/01/22


           /s/     James E. Studensky, Trustee
   __________________________________________ Date: 06/14/22
           JAMES E. STUDENSKY, TRUSTEE




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                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page:      10
                                                                        ASSET CASES                                                                           Exhibit A
Case No:            20-60321      RBK   Judge: Ronald B. King                               Trustee Name:                      James E. Studensky, Trustee
Case Name:          NORTH TEXAS MARINA INVESTMENTS, LLC                                     Date Filed (f) or Converted (c):   03/22/21 (c)
                                                                                            341(a) Meeting Date:               04/22/21
                                                                                            Claims Bar Date:                   09/07/21




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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit B
  Case No:          20-60321 -RBK                                                                                     Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                               Bank Name:                       Axos Bank
                                                                                                                      Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                         Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                      Separate Bond (if applicable):


           1           2                             3                                            4                                               5                       6                 7
    Transaction    Check or                                                                                               Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction         Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                                                                             BALANCE FORWARD                                                                                                        0.00
       04/16/21        1       WELLS FARGO BANK, N.A.                        BANK FUNDS REMITTED TO TRUSTEE                1129-000                    105.00                                     105.00
                               PO BOX 5131
                               SIOUX FALLS, SD 57117-5131
       04/17/21        2       WELLS FARGO BANK, N.A.                        BANK FUNDS REMITTED TO TRUSTEE                1129-000                57,347.24                                    57,452.24
                               PO BOX 5131
                               SIOUX FALLS, SD 57117-5131
       05/03/21                Axos Bank                                     BANK SERVICE FEE                              2600-000                                            24.55            57,427.69
       05/07/21     020001     NEXTLINK INTERNET                             INTERNET EXPENSE                              2990-000                                           485.81            56,941.88
                               95 PARKER OAKS LANE                           PAID PURSUANT TO LOCAL BANKRUPTCY
                               HUDSON OAKS, TEXAS 76087                      RULE 6004 FOR ACCOUNT NO. 125152097 FOR
                                                                             INVOICE NO. N125152097-23 DATED 04/14/21
       05/13/21        5       THOMAS SLIZ                                   ACCOUNTS RECEIVABLE                           1121-000                    450.00                                   57,391.88
                               250 COUNTY ROAD 1511
                               MORGAN, TEXAS 76671
       05/13/21        5       THOMAS SLIZ                                   ACCOUNTS RECEIVABLE                           1121-000                    225.00                                   57,616.88
                               250 COUNTY ROAD 1511
                               MORGAN, TEXAS 76671
       05/13/21        5       PHILLIP MOLINA                                ACCOUNTS RECEIVABLE                           1121-000                    575.00                                   58,191.88
                               2103 OLD CALF CREEK RD.
                               BRADY, TEXAS 76825-7229
       05/14/21     020002     RELIANT                                       ELECTRIC CHARGES                              2990-000                                           207.33            57,984.55
                               PO BOX 650475                                 PAID PURSUANT TO LOCAL BANKRUPTCY
                               DALLAS, TEXAS 75265-0475                      RULE 6004 FOR ACCOUNT NO. 73 818 932-3
                                                                             FOR CABINS/SECURITY LIGHTS
       05/14/21     020003     RELIANT                                       ELECTRIC CHARGES                              2990-000                                           609.73            57,374.82
                               PO BOX 650476                                 PAID PURSUANT TO BANKRUPTCY LOCAL
                               DALLAS, TEXAS 75265-0475                      RULE 6004 FOR ACCOUNT NO. 73 818 310-2
                                                                             FOR GALLEY GRILL
       05/14/21     020004     RELIANT                                       ELECTRIC CHARGES                              2990-000                                           282.93            57,091.89
                               PO BOX 650475                                 PAID PURSUANT TO LOCAL BANKRUPTCY


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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:          20-60321 -RBK                                                                                      Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                                Bank Name:                       Axos Bank
                                                                                                                       Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                          Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                       Separate Bond (if applicable):


           1           2                             3                                            4                                                5                       6                  7
    Transaction    Check or                                                                                                Uniform                                                        Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction          Trans. Code         Deposits ($)       Disbursements ($)         Balance ($)
                               DALLAS, TEXAS 75265-0475                      RULE 6004 FOR ACCOUNT NO. 73 818 641-0
                                                                             FOR MAIN OFFICE
       05/14/21     020005     RELIANT                                       ELECTRIC CHARGES                               2990-000                                            255.19            56,836.70
                               PO BOX 650475                                 PAID PURSUANT TO LOCAL BANKRUPTCY
                               DALLAS, TEXAS 75265-0475                      RULE 6004 FOR ACCOUNT NO. 74 062 046-3
                                                                             FOR PARTS & SERVICE BUILDING
       05/14/21     020006     RELIANT                                       ELECTRIC CHARGES                               2990-000                                            165.83            56,670.87
                               PO BOX 650475                                 PAID PURSUANT TO LOCAL BANKRUPTCY
                               DALLAS, TEXAS 75265-0475                      RULE 6004 FOR ACCOUNT NO. 74 055 194-0
                                                                             FOR SHOWROOM BUILDING
       05/27/21     020007     NORMAN DOZIER & LISTON WADDLE                 INSURANCE PREMIUM REIMBURSEMENT                2420-000                                           3,587.69           53,083.18
                               C/O JESSICA HAILE                             PAID PURSUANT TO COURT ORDER DATED
                               MCMAHON SUROVIK SUTTLE, PC                    05/26/21[DOC #177] FOR PREMIUM PAID ON
                               PO BOX 3679                                   DEBTOR'S INSURANCE POLICY AS
                               ABILENE, TEXAS 79604                          ADEQUATE PROTECTION
       05/27/21     020008     HILCO UNITED SERVICES, INC                    WATER SERVICE                                  2990-000                                             60.54            53,022.64
                               115 E. MAIN                                   PAYMENT FOR ACCT. NO. 8500251103 FOR
                               PO BOX 127                                    112 CR 1710 PURSUANT TO LOCAL
                               ITASCA, TEXAS 76055                           BANKRUPTCY RULE 6004
       05/27/21     020009     HILCO UNITED SERVICES, INC.                   WATER SERVICE                                  2990-000                                             63.57            52,959.07
                               115 E. MAIN                                   PAID FOR ACCT NO. 8500251602 FOR 123 CR
                               PO BOX 127                                    1710 PURSUANT TO LOCAL BANKRUPTCY
                               ITASCA, TEXAS 76055                           RULE 6004
       05/27/21     020010     HILCO UNITED SERVICES, INC                    WATER SERVICE                                  2990-000                                            232.95            52,726.12
                               115 E. MAIN                                   FOR ACCT NO. 8500252403 FOR 128 CR 1716
                               PO BOX 127                                    PURSUANT TO LOCAL BANKRUPTCY RULE
                               ITASCA, TEXAS 76055                           6004
       05/27/21     020011     HILCO UNITED SERVICES, INC.                   WATER SERVICE                                  2990-000                                             63.57            52,662.55
                               115 E. MAIN                                   PAID FOR ACCT NO. 8500254203 FOR 128 PR
                               PO BOX 127                                    171 PURSUANT TO LOCAL BANKRUPTCY
                               ITASCA, TEXAS 76055                           RULE 6004


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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                     Exhibit B
  Case No:          20-60321 -RBK                                                                                   Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                             Bank Name:                       Axos Bank
                                                                                                                    Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                       Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                    Separate Bond (if applicable):


           1           2                             3                                            4                                             5                       6                 7
    Transaction    Check or                                                                                               Uniform                                                    Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction         Trans. Code       Deposits ($)       Disbursements ($)       Balance ($)
       05/27/21     020012     HILCO UNITED SERVICES, INC                    WATER SERVICE                                2990-000                                          164.27            52,498.28
                               115 E. MAIN                                   PAID FOR ACCT NO. 8500251202 FOR 1800 FM
                               PO BOX 127                                    2951 PURSUANT TO LOCAL BANKRUPTCY
                               ITASCA, TEXAS 76055                           RULE 6004
       06/01/21                Axos Bank                                     BANK SERVICE FEE                             2600-000                                           63.22            52,435.06
       06/14/21     020013     REPUBLIC SERVICES #794                        WASTE REMOVAL                                2990-000                                          239.13            52,195.93
                               PO BOX 78829                                  EXPENSE IN CHAPTER 7 PAID PURSUANT TO
                               PHOENIX, AZ 85062-8829                        LOCAL BANKRUPTCY RULE 6004
       06/16/21     020014     NEXTLINK INTERNET                             INTERNET SERVICE                             2990-000                                          485.81            51,710.12
                               95 PARKER OAKS LANE                           EXPENSE PAID PURSUANT TO LOCAL
                               HUDSON OAKS, TEXAS 76087                      BANKRUPTCY RULE 6004 FOR INVOICE NO.
                                                                             N125152097-24 DATED 05/14/21 FOR ACCT NO.
                                                                             125152097
       06/16/21     020015     RELIANT                                       ELECTRIC SERVICE                             2990-000                                          509.09            51,201.03
                               PO BOX 650475                                 EXPENSE PAID FOR ACCT NO. 73 818 310-2
                               DALLAS, TEXAS 75265-0475                      FOR CURRENT CHARGES AS OF MAY 19, 2021
                                                                             PURSUANT TO LOCAL BANKRUPTCY RULE
                                                                             6004
       06/16/21     020016     RELIANT                                       ELECTRIC POWER                               2990-000                                          114.01            51,087.02
                               PO BOX 650475                                 EXPENSE PAID FOR ACCT. NO. 73 818 414 -2
                               DALLAS, TEXAS 75265-0475                      FOR CURRENT CHARGES AS OF MAY 19, 2021
                                                                             PAID PURSUANT TO LOCAL BANKRUPTCY
                                                                             RULE 6004
       06/16/21     020017     RELIANT                                       ELECTRIC POWER                               2990-000                                          347.82            50,739.20
                               PO BOX 650475                                 EXPENSE PAID FOR ACCT NO. 73 818 641-0
                               DALLAS, TEXAS 75265-0475                      FOR CURRENT CHARGES AS OF MAY 19, 2021
                                                                             PAID PURSUANT TO LOCAL BANKRUTPCY
                                                                             RULE 6004
       06/16/21     020018     RELIANT                                       ELECTRIC POWER                               2990-000                                          177.94            50,561.26
                               PO BOX 650475                                 EXPENSE PAID FOR ACCT NO. 73 818 932 -3
                               DALLAS, TEXAS 76265-0475                      FOR CURRENT CHARGES AS OF MAY 19, 2021


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                                                                         FORM                                                                                                        Page:      4
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                     Exhibit B
  Case No:          20-60321 -RBK                                                                                   Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                             Bank Name:                       Axos Bank
                                                                                                                    Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                       Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                    Separate Bond (if applicable):


           1           2                             3                                            4                                             5                       6                 7
    Transaction    Check or                                                                                               Uniform                                                    Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction         Trans. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                                                             PAID PURSUANT TO LOCAL BANKRUPTCY
                                                                             RULE 6004
       06/16/21     020019     RELIANT                                       ELECTRIC POWER                               2990-000                                           97.18            50,464.08
                               PO BOX 650475                                 EXPENSE PAID FOR ACCT NO. 74 055 194-0
                               DALLAS, TEXAS 75265-0475                      FOR CURRENT CHARGES AS OF MAY 19, 2021
                                                                             PAID PURSUANT TO LOCAL BANKRUPTCY
                                                                             RULE 6004
       06/24/21        2       WELLS FARGO BANK                              BANK FUNDS REMITTED TO TRUSTEE               1129-000                   179.54                                   50,643.62
                               PO BOX 5131. N9777-112 OFC
                               SIOUX FALLS, SD 57117-5131
       06/25/21     020020     RELIANT                                       ELECTRIC CHARGES                             2990-000                                          279.99            50,363.63
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21[DOC #182] FOR ACCOUNT NO. 73 818
                                                                             641-0(INVOICE #143004578224) DATED
                                                                             06/21/21 FOR CURRENT CHARGES
       06/25/21     020021     RELIANT                                       ELECTRICAL CHARGES                           2990-000                                          125.57            50,238.06
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21[DOC #182] FOR ACCT NO. 73 818
                                                                             932-3(INVOICE NO. 305000877834) DATED
                                                                             06/21/21 FOR CURRENT CHARGES
       06/25/21     020022     RELIANT                                       ELECTRICAL CHARGES                           2990-000                                          466.58            49,771.48
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21[DOC #182] FOR ACCT NO. 73 818
                                                                             310-2(INVOICE NO. 143004578213) DATED
                                                                             06/21/21 FOR CURRENT CHARGES
       06/25/21     020023     RELIANT                                       ELECTRICAL CHARGES                           2990-000                                          109.96            49,661.52
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21[DOC #182] FOR ACCT NO. 74 062
                                                                             046-3(INVOICE NO. 393000370443) DATED
                                                                             06/21/21 FOR CURRENT CHARGES
       07/01/21                Axos Bank                                     BANK SERVICE FEE                             2600-000                                           59.41            49,602.11


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                                                                         FORM                                                                                                           Page:     5
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit B
  Case No:          20-60321 -RBK                                                                                    Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                              Bank Name:                       Axos Bank
                                                                                                                     Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                        Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                     Separate Bond (if applicable):


           1           2                             3                                            4                                              5                       6                  7
    Transaction    Check or                                                                                                Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction          Trans. Code       Deposits ($)       Disbursements ($)         Balance ($)
       07/06/21     020024     REPUBLIC SERVICES                             WASTE REMOVAL                                 2990-000                                          1,117.51           48,484.60
                               PO BOX 77829                                  EXPENSE PAID PURSUANT TO COURT
                               PHOENIX, AZ 85062-8829                        ORDER DATED 06/17/21 [DOC # 182] FOR
                                                                             ACCOUNT NO. 3-0794-0269196
       07/19/21     020025     NEXTLINK INTERNET                             INTERNET ACCESS                               2990-000                                           490.86            47,993.74
                               95 PARKER OAKS LANE                           EXPENSE PAID PURSUANT TO COURT
                               HUDSON OAKS, TEXAS 76087                      ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 125152097(INVOICE
                                                                             N125152097-25) DATED 06/14/21
       07/20/21     020026     HILCO UNITED SERVICES, INC                    WATER SERVICE                                 2990-000                                            34.33            47,959.41
                               PO BOX 26                                     PAID PURSUANT TO COURT ORDER DATED
                               ITASCA, TEXAS 76055-0026                      06/17/21 [DOC #182] FOR ACCT NO.
                                                                             8500251103 FOR BILLING PERIOD 05/25/21
                                                                             THRU 06/25/21
       07/20/21     020027     HILCO UNITED SERVICES, INC.                   WATER SERVICE                                 2990-000                                           151.19            47,808.22
                               PO BOX 26                                     PAID PURSUANT TO COURT ORDER DATED
                               ITASCA, TEXAS 76055-0026                      06/17/21[DOC #182] FOR ACCT NO. 8500251202
                                                                             FOR SERVICE FROM 05/25/21 THRU 06/25/21
       07/20/21     020028     HILCO UNITED SERVICES, INC                    WATER SERVICE                                 2990-000                                            34.33            47,773.89
                               PO BOX 26                                     PAID PURSUANT TO COURT ORDER DATED
                               ITASCA, TEXAS 76055-0026                      06/17/21[DOC #182] FOR ACCT NO. 8500251602
                                                                             FOR SERVICE FROM 05/25/21 THRU 06/25/21
       07/20/21     020029     HILCO UNITED SERVICES, INC.                   WATER SERVICE                                 2990-000                                           207.75            47,566.14
                               PO BOX 26                                     PAID PURSUANT TO COURT ORDER DATED
                               ITASCA, TEXAS 76055-0026                      06/17/21[DOC #182] FOR ACCT NO. 8500252403
                                                                             FOR SERVICE FROM 05/25/21 THRU 06/25/21
       07/20/21     020030     HILCO UNITED SERVICES, INC.                   WATER SERVICE                                 2990-000                                            37.36            47,528.78
                               PO BOX 26                                     PAID PURSUANT TO COURT ORDER DATED
                               ITASCA, TEXAS 76055-0026                      06/17/21 [DOC #182] FOR ACCT NO.
                                                                             8500254203
       07/26/21     020031     RELIANT                                       ELECTRICAL POWER                              2990-000                                           252.29            47,276.49


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LFORM2T4                                                                                                                                                                                        Ver: 22.06a
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                                                                         FORM                                                                                                       Page:      6
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                    Exhibit B
  Case No:          20-60321 -RBK                                                                                  Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                            Bank Name:                       Axos Bank
                                                                                                                   Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                      Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                   Separate Bond (if applicable):


           1           2                             3                                            4                                            5                       6                 7
    Transaction    Check or                                                                                             Uniform                                                     Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction       Trans. Code        Deposits ($)       Disbursements ($)       Balance ($)
                               PO BOX 650476                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 74 062 046-3 FOR CHARGES AS
                                                                             OF JULY 20, 2021
       07/26/21     020032     RELIANT                                       ELECTRICAL POWER                           2990-000                                           169.07            47,107.42
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21[DOC #182] FOR ACCT
                                                                             NO. 74 055 194-0 FOR CHARGES THROUGH
                                                                             JULY 19, 2021
       07/26/21     020033     RELIANT                                       ELECTRICAL POWER                           2990-000                                           126.88            46,980.54
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 932-3 FOR CHARGES
                                                                             THROUGH JULY 19, 2021
       07/26/21     020034     RELIANT                                       ELECTRICAL POWER                           2990-000                                           341.66            46,638.88
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 750265-0475                     ORDER DATED 06/17/21 [DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 641-0 FOR CHARGES
                                                                             THROUGH JULY 19, 2021
       07/26/21     020035     RELIANT                                       ELECTRICAL POWER                           2990-000                                           459.00            46,179.88
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 750265-0475                     ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 310 - 2 FOR CHARGES
                                                                             THROUGH JULY 19, 2021
       07/26/21     020036     RELIANT                                       ELECTRICAL POWER                           2990-000                                           110.00            46,069.88
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 750265-0475                     ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 414-2 FOR CHARGES
                                                                             THROUGH JULY 19, 2021
       07/26/21     020037     RELIANT                                       ELECTRICAL POWER                           2990-000                                           160.46            45,909.42
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT


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                                                                         FORM                                                                                                                     Page:      7
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit B
  Case No:          20-60321 -RBK                                                                                                Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                                          Bank Name:                       Axos Bank
                                                                                                                                 Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                                    Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                                 Separate Bond (if applicable):


           1           2                             3                                                 4                                                     5                       6                 7
    Transaction    Check or                                                                                                             Uniform                                                   Account / CD
       Date        Reference               Paid To / Received From                       Description Of Transaction                    Trans. Code      Deposits ($)       Disbursements ($)       Balance ($)
                               DALLAS, TEXAS 750265-0475                     ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 033-0 FOR CHARGES
                                                                             THROUGH JULY 19, 2021
       07/26/21     020038     RELIANT                                       ELECTRICAL POWER                                           2990-000                                         197.76            45,711.66
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 750265-0475                     ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 368-0 FOR CHARGES
                                                                             THROUGH JULY 19, 2021
       07/28/21     020039     RELIANT                                       ELECTRICAL POWER                                           2990-000                                         198.56            45,513.10
                               PO BOX 650475                                 EXPENSE PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21[DOC #182] FOR ACCT
                                                                             NO. 73 818 369-8 FOR CHARGES THROUGH
                                                                             JULY 19, 2021
       08/02/21                Axos Bank                                     BANK SERVICE FEE                                           2600-000                                          70.10         45,443.00
       08/03/21    * NOTE *    SDLD INVESTMENT GROUP, LLC                    SALES PROCEEDS FROM PERSONAL PROP                          1129-000             200,000.00                                245,443.00
                               401 N. BRAZOS                                 PROCEEDS FROM SALE OF ALL PERSONAL
                               WHITNEY, TEXAS 76692                          PROPERTY PER
                                                                             COURT ORDER DATED 08/05/21 [DOC #197]
                                                                             * NOTE * Properties 6, 9, 10, 11, 12, 13, 14, 15,
                                                                             16, 17, 18, 19, 20, 21, 22, 24, 27, 28, 30, 31, 33, 34,
                                                                             35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48,
                                                                             49, 50, 52, 53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 70
       08/06/21     020040     THE COUNTY OF BOSQUE, TEXAS                   AD VALOREM TAXES PAID PER CT ORDER                         4220-000                                     22,470.68         222,972.32
                               P.O. BOX 346                                  FOR ACCOUNT NOS. P24352, P25832, P39962,
                               MERIDIAN, TEXAS 76665-0346                    R22368, AND P27475 FOR DELINQUENT
                                                                             TAXES PURSUANT TO COURT ORDER DATED
                                                                             08/05/21 [DOC # 197]
       08/06/21     020041     BILL HALL AUCTIONEER, INC.                    AUCTIONEER FEES/EXPENSES                                                                                37,289.52         185,682.80
                               PO BOX 339                                    PAID PURSUANT TO COURT ORDER DATED
                               SALADO, TEXAS 76571                           08/05/21 [DOC #197]
                                                                                     Fees                  20,000.00                    3610-000


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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                     Exhibit B
  Case No:          20-60321 -RBK                                                                                   Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                             Bank Name:                       Axos Bank
                                                                                                                    Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                       Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                    Separate Bond (if applicable):


           1           2                             3                                            4                                             5                       6                 7
    Transaction    Check or                                                                                             Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction       Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                                                                                  Expenses          17,289.52            3620-000
       08/09/21     020042     REPUBLIC SERVICES                             WASTE REMOVAL                               2990-000                                           672.52        185,010.28
                               PO BOX 77829                                  EXPENSE PAID PURSUANT TO COURT
                               PHOENIX, AZ 85062-8829                        ORDER DATED 06/17/21 [DOC #182] FOR
                                                                             ACCT NO. 307940269196 FOR UNCLE GUS'
                                                                             MARINA, WHITNEY, TEXAS
       08/10/21       72       ROWLEY INSURANCE                              INSURANCE REFUND                            1229-000                    264.23                               185,274.51
                               6805 GUADALUPE
                               AUSTIN, TEXAS 78752
       08/19/21     020043     HILCO UNITED SERVICES, INC                    WATER SERVICE-DELIQUENT CHARGES             2990-000                                           488.19        184,786.32
                               PO BOX 26                                     PAID FOR ACCTS NOS.
                               ITASCA, TEXAS 76055-0026                      8500251103,8500251202,8500251602,
                                                                             8500252403, AND 8500254203 PURSUANT TO
                                                                             COURT ORDER DATED 06/17/21 [DOC #182]
       08/23/21     020044     RELIANT                                       ELECTRICAL POWER                            2990-000                                           195.51        184,590.81
                               PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21[DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 932-3 FOR INVOICE
                                                                             DATED 08/17/21
       08/23/21     020045     RELIANT                                       ELECTRICAL POWER                            2990-000                                            59.48        184,531.33
                               PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC # 182] FOR
                                                                             ACCOUNT NO. 73 818 414-2 FOR INVOICE
                                                                             DATED 08/17/21
       08/23/21     020046     RELIANT                                       ELECTRICAL POWER                            2990-000                                           244.78        184,286.55
                               PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                               DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                             ACCOUNT NO. 73 818 369-8 UNDER INVOICE
                                                                             DATED 08/17/21
       08/23/21     020047     RELIANT                                       ELECTRICAL POWER                            2990-000                                             2.12        184,284.43
                               PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT


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                                                                         FORM                                                                                                         Page:     9
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                     Exhibit B
  Case No:           20-60321 -RBK                                                                                   Trustee Name:                    James E. Studensky, Trustee
  Case Name:         NORTH TEXAS MARINA INVESTMENTS, LLC                                                             Bank Name:                       Axos Bank
                                                                                                                     Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                        Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                     Separate Bond (if applicable):


           1            2                             3                                           4                                              5                       6                 7
     Transaction    Check or                                                                                             Uniform                                                      Account / CD
        Date        Reference               Paid To / Received From                   Description Of Transaction        Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                                DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                              ACCOUNT NO. 73 818 368-0 AND INVOICE
                                                                              DATED 08/17/21
       08/23/21      020048     RELIANT                                       ELECTRICAL POWER                            2990-000                                           631.35        183,653.08
                                PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                                DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                              ACCOUNT NO. 73 818 310-2 AND INVOICE
                                                                              DATED 08/17/21
       08/23/21      020049     RELIANT                                       ELECTRICAL POWER                            2990-000                                           165.22        183,487.86
                                PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                                DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                              ACCOUNT NO. 73 818 033-0 AND INVOICE
                                                                              DATED 08/17/21
       08/23/21      020050     RELIANT                                       ELECTRICAL POWER                            2990-000                                           234.43        183,253.43
                                PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                                DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                              ACCOUNT NO. 74 062 046-3 AND INVOICE
                                                                              DATED 08/17/21
       08/23/21      020051     RELIANT                                       ELECTRICAL POWER                            2990-000                                           142.73        183,110.70
                                PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                                DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                              ACCOUNT NO. 74 055 194-0 AND INVOICE
                                                                              DATED 08/17/21
       08/23/21      020052     RELIANT                                       ELECTRICAL POWER                            2990-000                                           218.67        182,892.03
                                PO BOX 650475                                 CHARGES PAID PURSUANT TO COURT
                                DALLAS, TEXAS 75265-0475                      ORDER DATED 06/17/21 [DOC #182] FOR
                                                                              ACCOUNT NO. 73 818 641-0 AND INVOICE
                                                                              DATED 08/18/21
       09/01/21                 Axos Bank                                     BANK SERVICE FEE                            2600-000                                           241.70        182,650.33
 *     09/02/21      020053     HILCO UNITED SERVICES, INC.                   WATER CHARGES                               2990-004                                           875.02        181,775.31
                                PO BOX 26                                     PAID PURSUANT TO COURT ORDER DATED


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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit B
  Case No:          20-60321 -RBK                                                                                     Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                               Bank Name:                       Axos Bank
                                                                                                                      Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                         Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                      Separate Bond (if applicable):


           1           2                             3                                             4                                              5                       6                 7
    Transaction    Check or                                                                                                 Uniform                                                    Account / CD
       Date        Reference               Paid To / Received From                     Description Of Transaction          Trans. Code       Deposits ($)       Disbursements ($)       Balance ($)
                               ITASCA, TEXAS 76055-0026                      06/17/21 [DOC #182] FOR ACCOUNT NOS.
                                                                             8500251103,8500251202,8500251602,8500252403
                                                                             , AND 8500254203
       09/27/21     020054     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                          203.32        181,571.99
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 76265-0475                      06/17/21 [DOC # 182] FOR ACCOUNT NO. 74
                                                                             062 046-3 AND INVOICE DATED 09/16/21
       09/27/21     020055     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                          148.47        181,423.52
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 76265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 74 055
                                                                             194-0 AND INVOICE DATED 09/16/21
       09/27/21     020056     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                          163.63        181,259.89
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 76265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 73 818
                                                                             033-0 AND INVOICE DATED 09/16/21
       09/27/21     020057     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                          500.31        180,759.58
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 76265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 73 818
                                                                             310-2 AND INVOICE DATED 09/16/21
       09/27/21     020058     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                          216.15        180,543.43
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 76265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 73 818
                                                                             368-0 AND INVOICE DATED 09/16/21
       09/27/21     020059     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                          255.69        180,287.74
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 76265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 73 818
                                                                             369-8 AND INVOICE DATED 09/16/21
       09/27/21     020060     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           59.54        180,228.20
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 73 818
                                                                             414-2 AND INVOICE DATED 09/16/21


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                                                                         FORM                                                                                                             Page:    11
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit B
  Case No:           20-60321 -RBK                                                                                      Trustee Name:                    James E. Studensky, Trustee
  Case Name:         NORTH TEXAS MARINA INVESTMENTS, LLC                                                                Bank Name:                       Axos Bank
                                                                                                                        Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                           Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                        Separate Bond (if applicable):


           1            2                             3                                            4                                                5                       6                 7
     Transaction    Check or                                                                                                Uniform                                                       Account / CD
        Date        Reference               Paid To / Received From                    Description Of Transaction          Trans. Code         Deposits ($)       Disbursements ($)        Balance ($)
       09/27/21      020061     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           409.66        179,818.54
                                PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                                DALLAS, TEXAS 76265-0475                      06/17/21[DOC #182] FOR ACCOUNT NO. 73 818
                                                                              641-0 AND INVOICE DATED 09/19/21
       09/27/21      020062     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           209.35        179,609.19
                                PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                                DALLAS, TEXAS 76265-0475                      06/17/21 [DOC #182] FOR ACCOUNT NO. 73 818
                                                                              932-3 AND INVOICE DATED 09/16/21
       10/01/21                 Axos Bank                                     BANK SERVICE FEE                               2600-000                                           207.01        179,402.18
       10/04/21        63       GRANDDOC'S MARINA, LLC                        SALE OF REAL ESTATE                            1110-000                35,000.00                                214,402.18
                                PO BOX 2587                                   PROCEEDS FROM COMPROMISE AND SALE
                                ABILENE, TEXAS 79604                          OF REAL ESTATE
                                (WIRE DEPOSIT ON 09/30/21)                    TO SECURED PARTIES PER COURT ORDER
                                                                              DATED 09/22/21 [DOC #219]
 *     10/04/21      020053     HILCO UNITED SERVICES, INC.                   Stop Payment Reversal                          2990-004                                           -875.02       215,277.20
                                PO BOX 26                                     STOP PAYMENT
                                ITASCA, TEXAS 76055-0026
       10/04/21      020063     INTERNATIONAL SURETIES, LTD                   BOND PREMIUM                                   2300-000                                            63.62        215,213.58
                                701 POYDRAS ST. SUITE 420                     PAID PURSUANT TO LOCAL BANKRUPTCY
                                NEW ORLEANS, LA 70139                         RULE 6004
       10/25/21      020064     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           126.10        215,087.48
                                PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                                DALLAS, TEXAS 75265-0475                      06/17/21[DOC #182] FOR ACCT NO. 74 055
                                                                              194-0 BILLED UNDER INVOICE NO.
                                                                              345000705249 DATED 10/18/21
       10/25/21      020065     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           140.55        214,946.93
                                PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                                DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                              932-3 BILLED UNDER INVOICE NO.
                                                                              361000592087 DATED 10/18/21
       10/25/21      020066     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           329.88        214,617.05


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                                                                         FORM                                                                                                           Page:     12
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit B
  Case No:          20-60321 -RBK                                                                                      Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                                Bank Name:                       Axos Bank
                                                                                                                       Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                          Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                       Separate Bond (if applicable):


           1           2                             3                                            4                                                5                       6                 7
    Transaction    Check or                                                                                                Uniform                                                      Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction          Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                             641-0 BILLED UNDER INVOICE NO.
                                                                             361000592086 DATED 10/18/21
       10/25/21     020067     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                            32.78        214,584.27
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                             414-2 BILLED UNDER INVOICE NO.
                                                                             361000592085 DATED 10/18/21
       10/25/21     020068     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           184.41        214,399.86
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                             369-8 BILLED UNDER INVOICE NO.
                                                                             361000592084 DATED 10/18/21
       10/25/21     020069     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           153.57        214,246.29
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                             368-0 BILLED UNDER INVOICE NO.
                                                                             350000644451 DATED 10/18/21
       10/25/21     020070     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                            96.47        214,149.82
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                             033-0 BILLED UNDER INVOICE NO.
                                                                             350000644450
       10/25/21     020071     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           128.32        214,021.50
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 74 062
                                                                             046-3 BILLED UNDER INVOICE NO.
                                                                             316000839167 DATED 10/19/21
       10/25/21     020072     RELIANT                                       ELECTRICAL POWER CHARGES                       2990-000                                           304.61        213,716.89
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED


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                                                                         FORM                                                                                                       Page:     13
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                    Exhibit B
  Case No:          20-60321 -RBK                                                                                  Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                            Bank Name:                       Axos Bank
                                                                                                                   Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                      Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                   Separate Bond (if applicable):


           1           2                             3                                            4                                            5                       6                 7
    Transaction    Check or                                                                                              Uniform                                                    Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction        Trans. Code       Deposits ($)       Disbursements ($)       Balance ($)
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR ACCT NO. 73 818
                                                                             310-2 BILLED UNDER INVOICE NO.
                                                                             147004519896 DATED 10/19/21
       11/01/21                Axos Bank                                     BANK SERVICE FEE                            2600-000                                          237.96        213,478.93
       11/29/21     020073     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                          195.71        213,283.22
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCT NO. 73 818 310-2 AND
                                                                             INVOICE NO. 301003334054 ON 11/18/21
       11/29/21     020074     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                           36.88        213,246.34
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED ON ACCOUNT NO. 74 055 194-0 AND
                                                                             UNDER INVOICE NO. 371000564446 ON
                                                                             11/18/21
       11/29/21     020075     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                           26.87        213,219.47
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 73 818 932-3
                                                                             AND INVOICE NO. 368000578171 ON 11/18/21
       11/29/21     020076     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                           91.17        213,128.30
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 73 818 641-0
                                                                             AND UNDER INVOICE NO. 368000578170 ON
                                                                             11/18/21
       11/29/21     020077     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                            8.92        213,119.38
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 73 818 414-2
                                                                             AND UNDER INVOICE NO. 368000578169 ON


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                                                                         FORM                                                                                                       Page:     14
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                    Exhibit B
  Case No:          20-60321 -RBK                                                                                  Trustee Name:                    James E. Studensky, Trustee
  Case Name:        NORTH TEXAS MARINA INVESTMENTS, LLC                                                            Bank Name:                       Axos Bank
                                                                                                                   Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                      Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                   Separate Bond (if applicable):


           1           2                             3                                            4                                            5                       6                 7
    Transaction    Check or                                                                                              Uniform                                                    Account / CD
       Date        Reference               Paid To / Received From                    Description Of Transaction        Trans. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                                                             11/18/21
       11/29/21     020078     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                           49.67        213,069.71
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 73 818 369-8
                                                                             AND INVOICE NO. 368000578168 ON 11/18/21
       11/29/21     020079     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                           51.11        213,018.60
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 73 818 368-0
                                                                             AND INVOICE NO. 301003334055 ON 11/18/21
       11/29/21     020080     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                            9.10        213,009.50
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 73 818 033-0
                                                                             AND INVOICE NO. 301003334053 ON 11/18/21
       11/29/21     020081     RELIANT                                       ELECTRICAL POWER CHARGES                    2990-000                                           81.71        212,927.79
                               PO BOX 650475                                 PAID PURSUANT TO COURT ORDER DATED
                               DALLAS, TEXAS 75265-0475                      06/17/21 [DOC #182] FOR CURRENT CHARGES
                                                                             BILLED UNDER ACCOUNT NO. 74 062 046-3
                                                                             AND INVOICE NO. 371000564447 ON 11/18/21
       12/01/21     020082     GRAVES DOUGHERTY HEARON & MOODY               ATTORNEY FEES/EXPS                                                                        37,880.06         175,047.73
                               A PROFESSIONAL CORPORATION                    PAID PURSUANT TO COURT ORDER DATED
                               PO BOX 98                                     11/19/21 [DOC #228] INCURRED BY THE
                               AUSTIN, TEXAS 78767                           ESTATE FROM 04/14/21 THROUGH 10/13/21
                                                                                    Fees             37,237.00           3210-000
                                                                                    Expenses           643.06            3220-000
       12/01/21                Axos Bank                                     BANK SERVICE FEE                            2600-000                                          228.26        174,819.47
       01/03/22                Axos Bank                                     BANK SERVICE FEE                            2600-000                                          201.23        174,618.24
       02/01/22                Axos Bank                                     BANK SERVICE FEE                            2600-000                                          192.81        174,425.43
       03/01/22                Axos Bank                                     BANK SERVICE FEE                            2600-000                                          173.95        174,251.48


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                                                                          FORM                                                                                                                            Page:    15
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                      Exhibit B
  Case No:             20-60321 -RBK                                                                                                 Trustee Name:                    James E. Studensky, Trustee
  Case Name:           NORTH TEXAS MARINA INVESTMENTS, LLC                                                                           Bank Name:                       Axos Bank
                                                                                                                                     Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                                        Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                                     Separate Bond (if applicable):


           1              2                             3                                                4                                                       5                       6                    7
    Transaction       Check or                                                                                                           Uniform                                                          Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction                 Trans. Code         Deposits ($)         Disbursements ($)         Balance ($)
       03/30/22        020083     GEORGE C DEREESE, JR. CPA, PLLC                  ACCOUNTANT FEE                                         3410-000                                           885.00           173,366.48
                                  2501 1ST STREET                                  PAID PURSUANT TO COURT ORDER DATED
                                  ROSENBERG, TEXAS 77471                           03/29/22 [DOC #283] FOR INOVICE NO. 22-180
                                                                                   DATED 02/28/22 FOR TAX RETURN
                                                                                   PREPARATION
       04/01/22                   Axos Bank                                        BANK SERVICE FEE                                       2600-000                                           192.39           173,174.09




                                                                          Account *******0289                    Balance Forward                        0.00
                                                                                                             9            Deposits                294,146.01               84         Checks               119,079.33
                                                                                                             0   Interest Postings                      0.00               12 Adjustments Out                1,892.59
                                                                                                                                                                            0   Transfers Out                    0.00
                                                                                                                          Subtotal           $    294,146.01
                                                                                                                                                                                         Total        $    120,971.92
                                                                                                             0    Adjustments In                         0.00
                                                                                                             0      Transfers In                         0.00

                                                                                                                            Total            $    294,146.01




               JAMES E. STUDENSKY, TRUSTEE




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                                                                             FORM                                                                                                      Page:     16
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                  Exhibit B
  Case No:               20-60321 -RBK                                                                                Trustee Name:                    James E. Studensky, Trustee
  Case Name:             NORTH TEXAS MARINA INVESTMENTS, LLC                                                          Bank Name:                       Axos Bank
                                                                                                                      Account Number / CD #:           *******0289 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6453
  For Period Ending: 06/14/22                                                                                         Blanket Bond (per case limit):   $ 151,650,000.00
                                                                                                                      Separate Bond (if applicable):


           1                2                             3                                          4                                            5                       6                 7
    Transaction         Check or                                                                                          Uniform                                                      Account / CD
       Date             Reference               Paid To / Received From                  Description Of Transaction      Trans. Code         Deposits ($)       Disbursements ($)       Balance ($)
                                      /s/    James E. Studensky, Trustee
               Trustee's Signature: __________________________________ Date: 06/14/22
                                      JAMES E. STUDENSKY, TRUSTEE




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                                                                       EXHIBIT C
 Page 1                                                                                                                            Date: June 14, 2022
                                                              ANALYSIS OF CLAIMS REGISTER

 Case Number:      20-60321                                         Claim Class Sequence
 Debtor Name:      NORTH TEXAS MARINA INVESTMENTS, LLC


Code #              Creditor Name & Address          Claim Class   Notes                     Amount Allowed         Paid to Date       Claim Balance

000024         STEPHEN W. SATHER, SUBV               Administrative                             $8,399.74             $0.00                   $8,399.74
002            CHAPTER 11                              SUBV CHAPTER 11 FEES APPROVED BY COURT ORDER DATED 02/08/21 [DOC #131]
6101-00        TRUSTEE                                 AND BY COURT ORDER GRANTING SUPPLEMENTAL COMPENSATION AND
               7320 N. MOPAC EXPRESSWAY,               EXPENSES DATED 04/19/21 [DOC #144]
               SUITE 400
               AUSTIN, TX 78731

000053         INTERNAL REVENUE SERVICE              Administrative                             $32,558.26                 $0.00             $32,558.26
999            PO BOX 7317                             POST-PETITION TAX CLAIM AMENDED LAST ON 05/10/22
6810-00        PHILADELPHIA, PA 19101-7317

000058         TEXAS WORKFORCE COMMISSION Administrative                                $1,760.87                          $0.00              $1,760.87
999            REGULATORY INTEGRITY         POST-PETITION TAX CLAIM AMENDED ON 08/04/21
6820-86        DIVISION - SAU
               ROOM 556
               101 E. 15TH STREET
               AUSTIN, TX 78778-0001

000059         TEXAS COMPTROLLER OF PUBLIC Administrative                                         $40,438.02               $0.00             $40,438.02
999            ACCOUNTS                      POST-PETITION SALES AND USE TAX CLAIM
6820-86        REVENUE ACCOUNTING DIVISION
               ATTN: BANKRUPTCY
               PO BOX 13528
               AUSTIN, TEXAS 78711-3528

000060         TEXAS COMPTROLLER OF PUBLIC Administrative                                          $3,339.98               $0.00              $3,339.98
999            ACCOUNTS                      POST-PETITION HOTEL OCCUPANCY TAXES
6820-86        REVENUE ACCOUNTING DIVISION
               ATTN: BANKRUPTCY
               PO BOX 13528
               AUSTIN, TEXAS 78711-3528

000061         TEXAS COMPTROLLER OF PUBLIC Administrative                             $1,614.93                            $0.00              $1,614.93
999            ACCOUNTS                      POST-PETITION FRANCHISE TAX CLAIM AMENDED ON 02/18/22
6820-86        REVENUE ACCOUNTING DIVISION
               ATTN: BANKRUPTCY
               PO BOX 13528
               AUSTIN, TEXAS 78711-3528



000002A        INTERNAL REVENUE SERVICE              Priority                                   $281,852.47             $0.00               $281,852.47
040            PO BOX 7317                             PRE-PETITION TAX PRIORITY PORTION OF CLAIM NO. 2 AMENDED ON 03/24/22
5800-00        PHILADELPHIA, PA 19101-7317

000011         COMPTROLLER OF PUBLIC                 Priority                                  $1,200.00               $0.00                  $1,200.00
040            ACCOUNTS                                CLAIM WITHDRAWN BY CREDITOR BY NOTICE DATED 10/13/20 [DOC #103]
5800-00        C/O OFFICE OF THE ATTORNEY
               GENERAL
               BANKRUPTCY - COLLECTIONS
               DIVISION MC-008
               PO BOX 12548
               AUSTIN TX 78711-2548




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                                                                          EXHIBIT C
 Page 2                                                                                                                              Date: June 14, 2022
                                                                 ANALYSIS OF CLAIMS REGISTER

 Case Number:      20-60321                                            Claim Class Sequence
 Debtor Name:      NORTH TEXAS MARINA INVESTMENTS, LLC


Code #              Creditor Name & Address          Claim Class      Notes                    Amount Allowed         Paid to Date       Claim Balance

000023         ALFRED L. RAY AND GAY Y.              Priority                                         $804.65                $0.00               $804.65
040            MILLER RAY
5600-00        1561 COUNTY ROAD 710
               JOSHUA, TX 76058

000025         KATHY LYNN ROLAND                     Priority                                         $425.33                $0.00               $425.33
040            11554 OLD MILITARY TRAIL
5600-00        FORNEY, TX 75126

000027         JOE STEWART                           Priority                                        $1,706.99               $0.00             $1,706.99
040            5600 ALOHA DR
5600-00        RICHLAND, WA 99353-7918

000028         ALLISON SMITH                         Priority                                         $467.66                $0.00               $467.66
040            728 S UNION ST
5600-00        KENNEWICK, WA 99336

000029A        RICHARD PRATER                        Priority                                        $3,025.00               $0.00             $3,025.00
040            110 PR 202
5600-00        AQUILLA, TX 76622

000030         JIM W. HOWARD                         Priority                                         $434.73                $0.00               $434.73
040            213 NORTHWOOD CT
5600-00        GRANBURY COURT, TX 76049

000031         JONATHAN AND JANA BLAKE               Priority                                         $570.00                $0.00               $570.00
040            954 HIGHLAND HILLS DRIVE
5600-00        FRISCO, TX 75036-0000

000036         BRUCE & DEBORAH STEWART               Priority                                         $467.66                $0.00               $467.66
040            10025 FM 114
5600-00        AVERY, TX 75554

000051         LAURA MALINDA HELTON                  Priority                                        $2,193.04               $0.00             $2,193.04
040            879 WIGGINS ROAD
5600-00        WEST TEXAS 76691

000057         TIM CHAMBERS                          Priority                                         $155.00                $0.00               $155.00
040            2300 COUNTY ROAD 314B
5600-00        CLEBURNE, TX 76031-8864

000064         CASEY CHAMBERS                        Priority                                         $625.10                $0.00               $625.10
040            141 HCR 3116
5600-00        ABBOTT, TEXAS 76621



000002B        INTERNAL REVENUE SERVICE              Unsecured                                 $90,666.85             $0.00                   $90,666.85
070            PO BOX 7317                             NON-PRIORITY UNSECURED PORTION OF CLAIM NO. 2-AMENDED 03/24/22
7100-00        PHILADELPHIA, PA 19101-7317

000003         GARY E. COX                           Unsecured                                       $8,585.00               $0.00             $8,585.00
070            400 AUSTIN AVE., SUITE 800
7100-00        WACO, TX 76701




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 Page 3                                                                                                                              Date: June 14, 2022
                                                                 ANALYSIS OF CLAIMS REGISTER

 Case Number:      20-60321                                            Claim Class Sequence
 Debtor Name:      NORTH TEXAS MARINA INVESTMENTS, LLC


Code #              Creditor Name & Address          Claim Class      Notes                    Amount Allowed         Paid to Date       Claim Balance

000007         ANDREW SUNTER                         Unsecured                                       $4,542.95               $0.00             $4,542.95
070            2415 LEVANTE ST
7100-00        CARLSBAD, CA 92009-8020

000008         LISTON WADDLE                         Unsecured                                      $19,365.95               $0.00            $19,365.95
070            C/O KELLY GILL
7100-00        P.O. BOX 3679
               ABILENE, TEXAS 79604

000009         LISTON WADDLE                         Unsecured                                      $75,312.86               $0.00            $75,312.86
070            C/O KELLY GILL
7100-00        P.O. BOX 3679
               ABILENE, TEXAS 79604

000010         YAMAHA PARTS               Unsecured                                                 $20,031.04               $0.00            $20,031.04
070            3065 CHASTAIN MEADOWS PKWY
7100-00        STE 100
               MARIETTA, GA 30066-3325

000012         LAKELANDER & TACKLEBOX                Unsecured                                       $4,535.00               $0.00             $4,535.00
070            PUBLICATIONS
7100-00        PO BOX 1727
               WHITNEY, TX 76692-1727

000013         THE REPORTER                          Unsecured                                       $4,319.45               $0.00             $4,319.45
070            C/O APRIL SANDERS
7100-00        PO BOX 569
               HILLSBORO, TX 76645

000014         RELIANT ENERGY RETAIL                 Unsecured                                      $41,388.69               $0.00            $41,388.69
070            SERVICES, LLC
7100-00        ATTENTION: BANKRUPTCY
               DEPARTMENT
               P.O. BOX 1046
               HOUSTON, TX 77251-9995

000015         8 PORTIONS, LLC                       Unsecured                                $34,500.00                     $0.00            $34,500.00
070            AMY VIE, MANAGING MEMBER                AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        PO BOX 10884
               ZEPHYR COVE, NV 89448-2884

000016         JUDY LAWYER                           Unsecured                                $69,000.00                     $0.00            $69,000.00
070            C/O SCHEEF & STONE, L.L.P.              AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        2600 NETWORK BLVD STE 400
               FRISCO, TX 75034-6010

000017         ARLENE SUSAN MANDELL                  Unsecured                                $51,750.00                     $0.00            $51,750.00
070            39875 TEAL DR                           AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        MURRIETA, CA 92562-4060

000018         CYNTHIA PENAR                         Unsecured                                $20,700.00                     $0.00            $20,700.00
070            429 TALLGRASS CIRCLE #156               AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        LAKE ZURICH, IL 60047




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                                                                 ANALYSIS OF CLAIMS REGISTER

 Case Number:      20-60321                                            Claim Class Sequence
 Debtor Name:      NORTH TEXAS MARINA INVESTMENTS, LLC


Code #              Creditor Name & Address          Claim Class      Notes                    Amount Allowed         Paid to Date       Claim Balance

000019         BELINDA PETTY                         Unsecured                                $69,000.00                     $0.00            $69,000.00
070            NATURE'S ESSENTIAL OIL                  AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        WELLNESS SOLO K
               6900 WESTCLIFF DR STE 603
               LAS VEGAS, NV 89145-0199

000020         LAURA SCHAKOSKY                       Unsecured                                $17,250.00                     $0.00            $17,250.00
070            INTERNATIONAL CORP                      AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        1403 SLOCUM ST APT 310
               DALLAS, TX 75207-3805

000021         OUTLAW TRAIL RV PARK, LLC             Unsecured                                $20,000.00                     $0.00            $20,000.00
070            9650 6000 S ST                          AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        JENSEN, UT 84035

000022         JENNYWREN ENTERPRISES, LLC            Unsecured                                $50,000.00                     $0.00            $50,000.00
070            C/O JANICE AND HARVEY                   AMENDED AS UNSECURED NON-PRIORITY CLAIM ON 02/07/22
7100-00        GALLOWAY
               PO BOX 10884
               ZEPHYR COVE, NV 89448-2884

000026         SPHERECOMMERCE LLC                    Unsecured                                       $3,632.34               $0.00             $3,632.34
070            600 E LAS COLINAS BLVD                  CLAIM AMENDED ON 05/06/21
7100-00        SUITE 1200
               IRVING, TX 75039

000029B        RICHARD PRATER                        Unsecured                                    $495.00                    $0.00               $495.00
070            110 PR 202                              UNSECURED NON-PRIORITY PORTION OF CLAIM NO. 29
7100-00        AQUILLA, TEXAS 76622

000032         PASIA HUTSELL                         Unsecured                                        $650.96                $0.00               $650.96
070            403 BAEUBAIN SILVER
7100-00        LANE, KS 66042

000033         KAYLA MAREK                           Unsecured                                        $155.00                $0.00               $155.00
070            106 N. ANDREWS DR.
7100-00        WACO, TX 76706

000034         CAROL HIXSON                          Unsecured                                        $444.61                $0.00               $444.61
070            300 TRAILRIDGE CIR                      CLAIM AMENDED ON 05/18/21
7100-00        CORSICANA, TX 75110-8678

000035         DIANNE GRIFFIN                        Unsecured                                        $138.50                $0.00               $138.50
070            509 W MAIN ST
7100-00        POST, TX 79356-3122

000037         BRADY TYSON                           Unsecured                                        $145.00                $0.00               $145.00
070            3102 CROCKETT ST
7100-00        GRANBURY, TX 76049

000038         STEPHANIE POWELL                      Unsecured                                        $467.33                $0.00               $467.33
070            1413 WACO TURNER
7100-00        ROYSE CITY, TX 75189




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                                                                          EXHIBIT C
 Page 5                                                                                                                              Date: June 14, 2022
                                                                 ANALYSIS OF CLAIMS REGISTER

 Case Number:      20-60321                                            Claim Class Sequence
 Debtor Name:      NORTH TEXAS MARINA INVESTMENTS, LLC


Code #              Creditor Name & Address          Claim Class      Notes                    Amount Allowed         Paid to Date       Claim Balance

000039         STEPHANIE POWELL                      Unsecured                                        $233.83                $0.00               $233.83
070            1413 WACO TURNER
7100-00        ROYSE CITY, TX 75189

000040         TABATHA BURROWS                       Unsecured                                       $1,175.00               $0.00             $1,175.00
070            316 FM 2412
7100-00        GATESVILLE, TX 76528-3565

000041         FONDA TATE                            Unsecured                                        $870.28                $0.00               $870.28
070            PO BOX 2508
7100-00        WHITNEY, TX 76692

000042         RODNEY W. SIMPSON                     Unsecured                                      $12,135.00               $0.00            $12,135.00
070            16618 ARRINGTON ROAD
7100-00        MILES, TX 76861

000043         KARL BURESH                           Unsecured                                       $1,500.00               $0.00             $1,500.00
070            4403 GLENBROOK CT                       CLAIM AMENDED ON 07/29/21
7100-00        MANSFIELD, TX 76063-3500

000044         LINDA KITE                            Unsecured                                        $537.60                $0.00               $537.60
070            1703 HENDERSON ST
7100-00        SWEETWATER, TX 79556

000045         LEA BATEY                             Unsecured                                        $420.36                $0.00               $420.36
070            2516 CRYSTAL DRIVE
7100-00        TEMPLE, TX 76502-7387

000046         DIRECTV, LLC                          Unsecured                                        $274.18                $0.00               $274.18
070            BY AMERICAN INFOSOURCE AS
7100-00        AGENT
               PO BOX 5072
               CAROL STREAM, IL 60197-5072

000047         THOMAS E.BERG                         Unsecured                                        $567.48                $0.00               $567.48
070            1949 SAN MIGUEL DR
7100-00        PLANO, TX 75074-3629

000048         SPHERECOMMERCE LLC                    Unsecured                                        $134.56                $0.00               $134.56
070            600 E LAS COLINAS BLVD
7100-00        SUITE 1200
               600 E LAS COLINAS BLVD, SUITE
               1200
               IRVING, TX 75039

000049         JOSEPH GAINS                          Unsecured                                       $2,270.00               $0.00             $2,270.00
070            3422 IMPERIAL DR
7100-00        GATESVILLE, TX 76528-2647

000050         RELIANT ENERGY RETAIL                 Unsecured                                      $13,842.42               $0.00            $13,842.42
070            SERVICES, LLC
7100-00        ATTENTION: BANKRUPTCY
               DEPARTMENT
               P.O. BOX 1046
               HOUSTON, TX 77251-9995




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                                                                          EXHIBIT C
 Page 6                                                                                                                              Date: June 14, 2022
                                                                 ANALYSIS OF CLAIMS REGISTER

 Case Number:      20-60321                                            Claim Class Sequence
 Debtor Name:      NORTH TEXAS MARINA INVESTMENTS, LLC


Code #              Creditor Name & Address          Claim Class      Notes                    Amount Allowed         Paid to Date       Claim Balance

000052         JOE MAIN                              Unsecured                                       $2,043.00               $0.00                $2,043.00
070            PO BOX 489
7100-00        SPRINGTOWN, TX 76082-0489

000054         DAVID DIEHR                           Unsecured                                        $614.00                $0.00                 $614.00
070            204 CEDAR ELM DR
7100-00        WHITNEY, TX 76692-4984

000055         CARL MENTESANA                        Unsecured                                          $0.00                $0.00                    $0.00
070            9900 N. CENTRAL EXPRESSWAY              CLAIM FORM INDICATES ZERO BALANCE
7100-00        #350
               DALLAS, TX 75231-0917

000056         KARI ROYAL                            Unsecured                                        $876.06                $0.00                 $876.06
070            1015 LAKESHORE DR
7100-00        MESQUITE, TX 75149-5807

000062         KYLE NICOTRE                          Unsecured                                       $1,397.50               $0.00                $1,397.50
070            4117 HIGHWAY 6
7100-00        CLIFTON, TEXAS 76634

000063         FRANK CHRISTMAN                       Unsecured                                        $420.00                $0.00                 $420.00
070            213 COUNTY ROAD 1710
7100-00        CLIFTON, TEXAS 76634-3922



000001         BOSQUE COUNTY                         Secured                                     $89,950.88        $22,470.68                    $67,480.20
050            C/O TARA LEDAY                          CLAIM PARTIALLY PAID FOR TAXES ON PERSONAL PROPERTY SOLD PER COURT
4800-00        P.O. BOX 1269                           ORDER DATED 08/05/21 [DOC #197} AND BALANCE OF CLAIM CLARIFIED AS FULLY
               ROUND ROCK, TX 78680                    SECURED AND NOT PAID PER COURT ORDER DATED 01/10/22 [DOC #245]


000004         LISTON WADDLE                         Secured                                   $406,596.32          $0.00                      $406,596.32
050            C/O KELLY GILL                          CLAIM CLARIFIED AS A FULLY SECURED CLAIM BY COURT ORDER DATED 1/10/22
4110-00        P.O. BOX 3679                           [DOC # 244]
               ABILENE, TEXAS 79604

000005         NORMAN DOZIER                         Secured                                   $424,109.38           $0.00                     $424,109.38
050            C/O KELLY GILL                          CLAIM CLARIFIED AS FULLY SECURED AND NOT PAID PER COURT ORDER DATED
4110-00        P.O. BOX 3679                           01/10/22 [DOC #245]
               ABILENE, TEXAS 79604

000006         NORMAN DOZIER                         Secured                                   $677,064.97           $0.00                     $677,064.97
050            C/O KELLY GILL                          CLAIM CLARIFIED AS FULLY SECURED AND NOT PAID PER COURT ORDER DATED
4110-00        P.O. BOX 3679                           01/11/22 [DOC # 246]
               ABILENE, TEXAS 79604



                  Case Totals:                                                                   $2,626,148.78          $22,470.68            $2,603,678.10
 Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 20-60321 RBK
     Case Name: NORTH TEXAS MARINA INVESTMENTS, LLC
     Trustee Name: James E. Studensky, Trustee
                         Balance on hand                                              $               173,174.09

               Claims of secured creditors will be paid as follows:

                                                              Allowed          Interim
                                                              Amount of        Payment to          Proposed
      Claim No. Claimant                       Claim Asserted Claim            Date                Payment
      000001          BOSQUE COUNTY $              89,950.88 $      89,950.88 $     22,470.68 $               0.00
      000004          LISTON WADDLE $             406,596.32 $     406,596.32 $            0.00 $             0.00
      000005          NORMAN DOZIER $             424,109.38 $     424,109.38 $            0.00 $             0.00
      000006          NORMAN DOZIER $             677,064.97 $     677,064.97 $            0.00 $             0.00
                 Total to be paid to secured creditors                                $                       0.00
                 Remaining Balance                                                    $               173,174.09


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                           Interim Payments Proposed
                         Reason/Applicant                Total Requested   to Date          Payment
      Trustee Fees: James E. Studensky, Trustee          $       17,957.30 $              0.00 $       17,957.30
      Trustee Expenses: James E. Studensky,
      Trustee                                            $        3,237.66 $              0.00 $         3,237.66
                 Total to be paid for chapter 7 administrative expenses               $                21,194.96
                 Remaining Balance                                                    $               151,979.13


               Applications for prior chapter fees and administrative expenses have been filed as follows:




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                                                                          Interim Payments
                         Reason/Applicant             Total Requested     to Date          Proposed Payment
      Other: INTERNAL REVENUE SERVICE $                        32,558.26 $                  0.00 $   32,558.26
      Other: STEPHEN W. SATHER, SUBV
      CHAPTER 11                                      $         8,399.74 $                  0.00 $    8,399.74
      Other: TEXAS COMPTROLLER OF
      PUBLIC ACCOUNTS                                 $        45,392.93 $                  0.00 $   45,392.93
      Other: TEXAS WORKFORCE
      COMMISSION                                      $         1,760.87 $                  0.00 $    1,760.87
                 Total to be paid for prior chapter administrative expenses             $            88,111.80
                 Remaining Balance                                                      $            63,867.33


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 292,727.63 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                       Allowed Amount         Interim Payments Proposed
     Claim No.            Claimant                     of Claim               to Date          Payment
                          INTERNAL REVENUE
     000002A              SERVICE                    $       281,852.47 $                0.00 $      61,494.59
                          ALFRED L. RAY AND
     000023               GAY Y. MILLER RAY          $           804.65 $                0.00 $           175.56
     000025               KATHY LYNN ROLAND $                    425.33 $                0.00 $            92.80
     000027               JOE STEWART                $         1,706.99 $                0.00 $           372.43
     000028               ALLISON SMITH              $           467.66 $                0.00 $           102.03
     000029A              RICHARD PRATER             $         3,025.00 $                0.00 $           659.99
     000030               JIM W. HOWARD              $           434.73 $                0.00 $            94.85
                          JONATHAN AND JANA
     000031               BLAKE                      $           570.00 $                0.00 $           124.36
                          BRUCE & DEBORAH
     000036               STEWART                    $           467.66 $                0.00 $           102.04




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                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
                          LAURA MALINDA
     000051               HELTON                          $     2,193.04 $              0.00 $           478.48
     000057               TIM CHAMBERS                    $       155.00 $              0.00 $             33.82
     000064               CASEY CHAMBERS                  $       625.10 $              0.00 $           136.38
                 Total to be paid to priority creditors                                $              63,867.33
                 Remaining Balance                                                     $                    0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 646,387.80 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
     000003               GARY E. COX                     $     8,585.00 $              0.00 $              0.00
     000007               ANDREW SUNTER                   $     4,542.95 $              0.00 $              0.00
     000008               LISTON WADDLE                   $    19,365.95 $              0.00 $              0.00
     000009               LISTON WADDLE                   $    75,312.86 $              0.00 $              0.00
     000010               YAMAHA PARTS                    $    20,031.04 $              0.00 $              0.00
                          LAKELANDER &
                          TACKLEBOX
     000012               PUBLICATIONS                    $     4,535.00 $              0.00 $              0.00
     000013               THE REPORTER                    $     4,319.45 $              0.00 $              0.00
                          RELIANT ENERGY
     000014               RETAIL SERVICES, LLC $               41,388.69 $              0.00 $              0.00
     000015               8 PORTIONS, LLC                 $    34,500.00 $              0.00 $              0.00




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                                              Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant            of Claim           to Date          Payment
     000016               JUDY LAWYER         $    69,000.00 $              0.00 $           0.00
                          ARLENE SUSAN
     000017               MANDELL             $    51,750.00 $              0.00 $           0.00
     000018               CYNTHIA PENAR       $    20,700.00 $              0.00 $           0.00
     000019               BELINDA PETTY       $    69,000.00 $              0.00 $           0.00
                          LAURA SCHAKOSKY
     000020               INTERNATIONAL CORP $     17,250.00 $              0.00 $           0.00
                          OUTLAW TRAIL RV
     000021               PARK, LLC           $    20,000.00 $              0.00 $           0.00
                          JENNYWREN
     000022               ENTERPRISES, LLC    $    50,000.00 $              0.00 $           0.00
                          SPHERECOMMERCE
     000026               LLC                 $     3,632.34 $              0.00 $           0.00
     000032               PASIA HUTSELL       $       650.96 $              0.00 $           0.00
     000033               KAYLA MAREK         $       155.00 $              0.00 $           0.00
     000034               CAROL HIXSON        $       444.61 $              0.00 $           0.00
     000035               DIANNE GRIFFIN      $       138.50 $              0.00 $           0.00
     000037               BRADY TYSON         $       145.00 $              0.00 $           0.00
     000038               STEPHANIE POWELL    $       467.33 $              0.00 $           0.00
     000039               STEPHANIE POWELL    $       233.83 $              0.00 $           0.00
     000040               TABATHA BURROWS     $     1,175.00 $              0.00 $           0.00
     000041               FONDA TATE          $       870.28 $              0.00 $           0.00
     000042               RODNEY W. SIMPSON   $    12,135.00 $              0.00 $           0.00
     000043               KARL BURESH         $     1,500.00 $              0.00 $           0.00
     000044               LINDA KITE          $       537.60 $              0.00 $           0.00
     000045               LEA BATEY           $       420.36 $              0.00 $           0.00
     000046               DIRECTV, LLC        $       274.18 $              0.00 $           0.00




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                                                       Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                     of Claim              to Date          Payment
     000047               THOMAS E.BERG              $           567.48 $               0.00 $              0.00
                          SPHERECOMMERCE
     000048               LLC                        $           134.56 $               0.00 $              0.00
     000049               JOSEPH GAINS               $         2,270.00 $               0.00 $              0.00
                          RELIANT ENERGY
     000050               RETAIL SERVICES, LLC $              13,842.42 $               0.00 $              0.00
     000052               JOE MAIN                   $         2,043.00 $               0.00 $              0.00
     000054               DAVID DIEHR                $           614.00 $               0.00 $              0.00
     000055               CARL MENTESANA             $              0.00 $              0.00 $              0.00
     000056               KARI ROYAL                 $           876.06 $               0.00 $              0.00
     000062               KYLE NICOTRE               $         1,397.50 $               0.00 $              0.00
     000063               FRANK CHRISTMAN            $           420.00 $               0.00 $              0.00
                          INTERNAL REVENUE
     000002B              SERVICE                    $        90,666.85 $               0.00 $              0.00
     000029B              RICHARD PRATER             $           495.00 $               0.00 $              0.00
                 Total to be paid to timely general unsecured creditors                $                    0.00
                 Remaining Balance                                                     $                    0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




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            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                          NONE




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